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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

THE OHIO NATIONAL LIFE INSURANCE                      :       Case No. 1:19-cv-00047-MRB
COMPANY, et al.,                                      :
                                                      :       Judge Barrett
               Plaintiffs,                            :
                                                      :
v.                                                    :
                                                      :
CETERA ADVISOR NETWORKS, LLC,                         :
et al.,                                               :
                                                      :
               Defendants.                            :

              STIPULATION OF PARTIAL DISMISSAL WITH PREJUDICE

        Plaintiffs The Ohio National Life Insurance Company (“ONLIC”) and Ohio National

Life Assurance Corp. (“ONLAC”) and Defendants Cetera Advisor Networks, LLC, First Allied

Securities, Inc., Cetera Investment Services, LLC, Cetera Advisors, LLC, Summit Brokerage

Services, Inc., and Cetera Financial Specialists LLC (collectively, the “Cetera Defendants”), by

and through their counsel, stipulate to a dismissal with prejudice of all of Plaintiffs’ claims

against the Cetera Defendants, with all costs to be taxed against the party incurring them.

        For the avoidance of doubt, this Stipulation applies solely to Plaintiffs’ claims against the

Cetera Defendants, and does not impact Plaintiffs’ remaining claims against Defendants

Oppenheimer & Co., Inc. and Oppenheimer Life Agency, Ltd., which were severed via the

Court’s January 27, 2020 Order. [Doc. No. 48.]
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STIPULATED TO AND APPROVED BY:

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                                            Cetera Investment Services LLC; Cetera
                                            Advisors LLC; Summit Brokerage Services, Inc.;
                                            and Cetera Financial Specialists LLC.




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                                CERTIFICATE OF SERVICE

         I hereby certify that on this 28th day of December, 2020, I electronically filed the

foregoing using the CM/ECF system, which will service the following counsel of record:

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